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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE APPLICATION OF
 TATIANA AKHMEDOVA,
                                 Applicant,                       19-MC-026 (JPO)

                                                                       ORDER
 REQUEST FOR DISCOVERY
 PURSUANT TO 28 U.S.C. § 1782.


J. PAUL OETKEN, District Judge:

       On October 3, 2019, this Court granted Mr. Akhmedov leave to file a motion to quash the

subpoenas in this case. (Dkt. No. 19.) No such application has been made, and there has been

no further communication with the Court.

       Accordingly, Mr. Akhmedov is directed to file any motion to quash on or before January

21, 2020. If he does so, Ms. Akhmedova shall respond on or before February 4, 2020. If he fails

to do so, Ms. Akhemdova shall advise the Court in a status letter whether this case can be closed

on or before February 4, 2020.

       SO ORDERED.

Dated: January 7, 2020
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
